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lN THE UNITED STATES DISTRICT COURT TlME: / - ’ 5 4

FoR THE WESTERN DISTRICT oF rENNESSEE lNITlALS. 96
WESTERN DWISION

 

UNITED STATES OF AMERICA,

Plaintiff,

V.

Cr. No. 05-20092-B
KEITH CARRICK,

Defendant.

 

ORDER FOR EVALUATION OF DEFENDANT
PURSUANT TO 18 U.S.C. § 4241

 

For good cause shown and Without objection by the government, the Court hereby GRANTS
defendant’s oral motion for evaluation pursuant to 18 U.S.C. § 4241 . Defendant shall be transferred

to a F ederal Medical Facility that is available to determine defendant’s competency to stand trial.

cl
lT IS So 0RDERED this 3( day OfMay, 2005.

o RABLE J.' DANIEL BREEN
1 ED STATES DISTRICT COURT IUDGE

 

'\'his doct.ment entered on the docket Sheet in com,p|lance
with Rn|e 55 and/or 32tbl FHCrP on '

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20092 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

